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                               UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
17
     CHASOM BROWN, et al., on behalf of
18   themselves and all others similarly situated,    Case No. 4:20-cv-03664-YGR-SVK

19                  Plaintiffs,                       GOOGLE’S        ADMINISTRATIVE
                                                      MOTION TO FILE UNDER SEAL
20          vs.                                       TRANSCRIPT OF THE PARTIES’ MEET
                                                      AND CONFER ON JANUARY 27, 2023
21   GOOGLE LLC,                                      PURSUANT TO DKT. 904

22                  Defendant.                        Referral: Hon. Susan van Keulen, USMJ

23   PATRICK CALHOUN, et al., on behalf of
     themselves and all others similarly situated,    Case No. 4:20-cv-05146-YGR-SVK
24
                    Plaintiffs,                       GOOGLE’S        ADMINISTRATIVE
25                                                    MOTION TO FILE UNDER SEAL
            vs.                                       TRANSCRIPT OF THE PARTIES’ MEET
26                                                    AND CONFER ON JANUARY 27, 2023
     GOOGLE LLC,                                      PURSUANT TO DKT. 1001
27
                    Defendant.                        Referral: Hon. Susan van Keulen, USMJ
28
                                                             Case No. 4:20-cv-03664-YGR-SVK
                                                             Case No. 4:20-cv-05146-YGR-SVK
          GOOGLE’S ADMINISTRATIVE MOTION TO FILE MEET AND CONFER TRANSCRIPT UNDER SEAL
       Case 4:20-cv-03664-YGR Document 906 Filed 03/21/23 Page 2 of 3




 1         Pursuant to the Court’s March 21, 2023 Order (Brown Dkt. 904; Calhoun Dkt. 1001),
 2 Defendant Google LLC respectfully submits the attached transcript of the Parties’ January 27, 2023

 3 meet and confer session for filing under seal. Consistent with the March 21, 2022 Order and for the

 4 reasons set forth in Google’s prior motions to seal materials in connection with Google’s Motion

 5 for Relief Regarding Preservation, see, e.g. Brown Dkts. 781, 805, 848; Calhoun Dkts. 897, 929,

 6 942, 973, Google respectfully requests that the Court maintain the transcript under seal.

 7

 8 DATED: March 21, 2023                       QUINN EMANUEL URQUHART &
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                                           2                Case No. 4:20-cv-05146-YGR-SVK
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